                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

ALBERT IAN SCHWEITZER,        )           CIVIL 05-00065 LEK-BMK
                              )
          Petitioner,         )
                              )
     vs.                      )
                              )
STATE OF HAWAI`I, ET AL.,     )
                              )
          Respondents.        )
_____________________________ )


        ORDER ASSESSING STATUS OF PETITIONER’S CLAIMS AND
    DIRECTING PETITIONER TO EITHER DISMISS UNEXHAUSTED CLAIMS
   OR FILE RULE 40 MOTION IN STATE COURT BY DECEMBER 30, 2016

               On January 31, 2005, pro se Petitioner Albert Ian

Schweitzer (“Schweitzer”) filed his Petition under 28 USC § 2254

for Writ of Habeas Corpus by a Person in State Custody

(“Petition”).       [Dkt. no. 1.]    He filed his Amended Petition on

March 9, 2005.       [Dkt. no. 4.]   On May 3, 2005, the magistrate

judge issued the Findings and Recommendation to Dismiss Petition

for Writ of Habeas Corpus (“Amended Petition F&R”).        [Dkt. no.

10.1]       The magistrate judge concluded that Schweitzer’s Amended

Petition was “a mixed petition containing both exhausted and

unexhausted claims.”       [Amended Petition F&R at 12.]   The

magistrate judge directed Schweitzer to notify the court whether

he would voluntarily delete the unexhausted claims and proceed on

only the exhausted claims or voluntarily dismiss the unexhausted



        1
       The district judge adopted the Amended Petition F&R on
June 16, 2005. [Dkt. no. 13.]
claims and move for a stay of the Amended Petition until he fully

exhausted the remaining claims.   [Id. at 17.]

          In response to the Amended Petition F&R, Schweitzer

filed his: “Notification of Court Regarding Findings &

Recommendations to Dismiss Petition for Writ of Habeas Corpus”;

and “Addenda to Petition w/Corrections.”   [Dkt. nos. 11, 12.]

This Court construes those two documents collectively as

Schweitzer’s Second Amended Petition.   To the extent that the

Amended Petition alleged claims that Schweitzer does not allege

in the Second Amended Petition, this Court CONSTRUES his failure

to include such claims in the Second Amended Petition as a

dismissal of those claims without prejudice.     See Notification of

Court Regarding Findings & Recommendations to Dismiss Petition

for Writ of Habeas Corpus, filed 5/20/05 (dkt. no. 11), at 1 (“I

voluntarily delete the unexhausted claims in the Amended Petition

and proceed ONLY with the exhausted claims.” (some emphases

omitted)); see also Lacey v. Maricopa Cty., 693 F.3d 896, 925

(9th Cir. 2012) (en banc) (stating that an “amended complaint

supersedes the original, the latter being treated thereafter as

non-existent” (citations and internal quotation marks omitted)).

This Court acknowledges that Schweitzer may have dismissed those

claims intending to seek leave to file a third amended petition

to re-allege some or all of those claims after he has exhausted

them in state court.   See Kelly v. Small, 315 F.3d 1063 (9th Cir.


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2003), overruled on other grounds as stated in, Robbins v. Carey,

481 F.3d 1143, 1149 (9th Cir. 2007).   However, at the present

time, those claims are not before this Court, and this Court

makes no findings or conclusions regarding whether Schweitzer

would be granted leave to amend to re-allege those claims after

exhaustion.   See, e.g., Schoenlein v. Hawaii Dep’t of Pub.

Safety/Saguaro Corr. Facility, Civ. No. 12-00046 DAE-KSC, 2012 WL

4069290, at *6 n.6 (D. Hawai`i Aug. 16, 2012) (discussing

possible difficulties with the Kelly procedure).2

          The operative pleading is Schweitzer’s Second Amended

Petition, and it alleges the only claims – i.e. grounds for

relief – that are currently before this Court: 1) denial of his

motion for change of venue (“Ground One”); 2) ineffective

assistance of counsel based on inexperience, failure to interview

witnesses prior to trial, and failure to conduct a proper

investigation of the allegations, facts, and legal theories

(“Ground Two”); 3) prosecutorial misconduct based on excessive

use of leading questions and introduction of highly prejudicial

evidence which denied him a fair trial (“Ground Three”); and

4) violation of his Sixth Amendment right to confront a key

witness who had alleged confessed to being a part of the crime

(“Ground Four”).   [Addenda to Petition w/Corrections at 5-6.]



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       2012 WL 4069290 is a report and recommendation that the
district judge adopted on September 14, 2012. 2012 WL 4069242.

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             Ground One of Schweitzer’s Amended Petition was based,

in part, on his argument that the trial court should have granted

a change of venue.    The magistrate judge found that the change of

venue claim was exhausted.    [Amended Petition F&R at 10-11.]

Ground Three of Schweitzer’s Amended Petition was based, in part,

on his argument that his Sixth Amendment right to confrontation

was violated.    The magistrate judge found that the Sixth

Amendment claim was exhausted.    [Id. at 11-12.]   Because

Schweitzer’s Grounds One and Four in the Second Amended Petition

repeat his change of venue claim and Sixth Amendment claim that

he alleged in his Amended Petition, Grounds One and Four of the

Second Amended Petition are exhausted.

             The magistrate judge found that Schweitzer’s claims in

Grounds Two and Three of the Second Amended Petition are

unexhausted.    [Findings and Recommendation to Direct Petitioner

to Inform the Court How He Shall Proceed (“Second Amended

Petition F&R”), filed 12/1/05 (dkt. no. 29), at 13-14.3]      Thus,

Schweitzer’s Second Amended Petition is a mixed petition.      The

magistrate judge stayed the Second Amended Petition to allow

Schweitzer to present his unexhausted claims to the Hawai`i state

court pursuant to Rule 40 of the Hawai`i Rules of Penal

Procedure.    The Order Staying Petition gave Schweitzer ninety


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       By the time the magistrate judge issued the Order Staying
Petition on March 13, 2006, [dkt. no. 37,] the district judge had
not acted upon the Second Amended Petition F&R.

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days – i.e., until June 11, 2006 – to file his Rule 40 motion.

[Order Staying Petition at 3.]

            Over ten years have passed since then, and Schweitzer

still has not filed his Rule 40 motion.   The United States

Supreme Court has clearly stated that, “[e]ven where stay and

abeyance is appropriate, the district court’s discretion in

structuring the stay is limited by the timeliness concerns

reflected in [the Antiterrorism and Effective Death Penalty Act

of 1996].    A mixed petition should not be stayed indefinitely.”

Rhines v. Weber, 544 U.S. 269, 277 (2005) (emphasis added).       This

Court therefore ORDERS Schweitzer that, by December 30, 2016, he

must either: 1) voluntarily dismiss his unexhausted claims in the

Second Amended Petition; or 2) file a Rule 40 motion presenting

his unexhausted claims to the Hawai`i state courts.

            If Schweitzer voluntarily dismisses the unexhausted

claims in the Second Amended Petition, this Court will lift the

stay, and the case will proceed on the exhausted claims in the

Second Amended Petition.   If Schweitzer files a Rule 40 motion in

state court, this Court ORDERS him to file a copy of the motion

in the instant case so that this Court can review the claims that

he presents in the Rule 40 motion.    Schweitzer must file a copy

of the Rule 40 motion in this case within seven days after filing

the Rule 40 motion in state court.    After reviewing Schweitzer’s

Rule 40 motion, this Court will determine whether it is

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appropriate to allow the stay in the instant case to continue.

This Court EMPHASIZES that the filing of a Rule 40 motion alone

will not automatically continue the stay in the instant case.

          This Court CAUTIONS Schweitzer that, if he fails to

either dismiss his unexhausted claims or file a Rule 40 motion by

December 30, 2016, this Court will lift the stay and will dismiss

the mixed Second Amended Petition without prejudice.   See Rhines,

544 U.S. at 273 (“federal district courts may not adjudicate

mixed petitions for habeas corpus”); id. (“we imposed a

requirement of ‘total exhaustion’ and directed federal courts to

effectuate that requirement by dismissing mixed petitions without

prejudice and allowing petitioners to return to state court to

present the unexhausted claims to that court in the first

instance”).   Although Rhines allows district courts to utilize

the stay and abeyance procedure for mixed petitions, the Supreme

Court stated that the procedure “should be available only in

limited circumstances,” and cautioned that “district courts

should place reasonable time limits on a petitioner’s trip to

state court and back.”   Id. at 277-78.   Schweitzer had more than

a reasonable amount of time to exhaust his claims.   Therefore, if

Schweitzer fails to either dismiss his unexhausted claims or file

a Rule 40 motion by December 30, 2016, this Court will dismiss

the Second Amended Petition without prejudice.

          IT IS SO ORDERED.


                                 6
          DATED AT HONOLULU, HAWAII, August 24, 2016.



                               /s/ Leslie E. Kobayashi
                              Leslie E. Kobayashi
                              United States District Judge




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